      Case 18-27828        Doc 20-1 Filed 11/12/19 Entered 11/13/19 07:56:00               Desc Notice
                                of Denied Vacated or Re Page 1 of 1
Form dschntc

                                  UNITED STATES BANKRUPTCY COURT
                                        Northern District of Illinois
                                             Eastern Division
                                             219 S Dearborn
                                                7th Floor
                                            Chicago, IL 60604


                                                 Case No.: 18−27828
                                                     Chapter: 13
                                                Judge: Carol A. Doyle

In Re:
   Veronica Shirley
   4844 S. Laflin 1 Rear
   Chicago, IL 60609
Social Security / Individual Taxpayer ID No.:
   xxx−xx−9709
Employer Tax ID / Other nos.:


                           Notice of Denied,Vacated, Waived, or Revoked Discharge



On November 12, 2019 , the Court signed an order:

          Vacating the Discharge
          Denying the Discharge
          Revoking the Discharge
          Approving the Waiver of the Discharge




                                                          FOR THE COURT


Dated: November 13, 2019                                  Jeffrey P. Allsteadt , Clerk
                                                          United States Bankruptcy Court
